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UNITED STATES DISTRICT COURT EASTERN DISTRICT OF LOUISIANA

WACHELLE BOUTTE, Individually and as Natural CIVIL ACTION NO:
Tutrix of My’Keeven Robinson heir to the Estate of

Keeven Robinson and as Representative of the Estate
of Keeven Robinson DIVISION:

VERSUS SECTION:

JOSEPH PETER LOPINTO, UL, in his official capacity,

as Sheriffof the Jefferson Parish Sheriff's Office,
JEFFERSON PARISH SHERIFF'S OFFICE, DAVID
LOWE, individually and in his official capacity as a g
officer/deputy/detective for the Jefferson Parish Sheriff's g 7
Office, JASON SPADONI, individually and in his official : \4
capacity as a officer/deputy/detective for the Jefferson Parish q
Sheriff's Office, JUSTIN BRISTER, individually and in his

official capacity as a officer/deputy/detective for the Jefferson

ParishSheriff's Office, GARY BORDELON, individually and in

his official capacity as a officer/deputy/detective for the Jefferson

Parish Sheriff's Office, AND ABC INSURANCE COMPANY

FILED:

DEPUTY CLERK

PLAINTIFF'S ORIGINAL COMPLAINT

NOW INTO COURT, through undersigned counsel, comes petitioner, WACHELLE
BOUTTE, individually as surviving spouse and as the natural tutrix of My’Keeven Robinson and
as Representative of the Estate of Keeven Robinson, a person of full age of majority and
domiciled in the Parish of Orleans, State of Louisiana, who respectfully represents that:

FRISDI N.AND VENUE
1,

Jurisdiction exists in this court pursuant to 28 U.S.C. §§ 1331 and 1343 as this action is

brought under, inter alia, the Fourth Amendment of the United States Constitution and 42 U.S.C.

§ 1983, including compensatory damages, unitive damages, costs and attorney's fees pursuant

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to 42 U.S.C, $1988, to redress the deprivation of rights, privileges and immunities guaranteed to
decedent, by constitutional and statutory provisions.
2.
The court has federal question jurisdiction over Plaintiffs federal law claims pursuant to
28 U.S.C. § 1331, 1343(a)(3). Plaintiff’s state law claims are related to these federal claims and
form a part of the same case or controversy. The court accordingly has supplemental jurisdiction
over Plaintiff's state law claims pursuant to 28 U.S.C §1367(a).
4.
Venue is proper in this court because the causes of action occurred within the Eastern
District of Louisiana and all Defendants worked and/or resides within this district.
PARTIES
4.

Made Defendants herein are:

a. JOSEPH PETER LOPINTO, IL, in his official capacity as the sheriff of the
Jefferson Parish Sheriff's Office, a person of the full age of majority and a resident
and domiciled in Jefferson Parish, State of Louisiana, and all material times herein
acting in his capacity as Sheriff in the scope of his employment with the Jefferson
Parish Sheriff's Office;

b. JEFFERSON PARISH SHERIFE’S OFFICE, a political subdivision of the State
of Louisiana, authorized to do and doing business in the State of Louisiana;

¢. DAVID LOWE, individually and in his official capacity as officer/deputy/detective
for the Jefferson Parish Sheriff's Office, a person of full age of majority and a
resident of Jefferson Parish, State of Louisiana:

d. JASON SPADONL, individually and in his official capacity as
officer/deputy/detective for the Jefferson Parish Sheriff's Office, a person of full age
of majority and a resident of Jefferson Parish, State of Louisiana;

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¢. JUSTIN BRISTER, individually and in his official capacity as
oificer/deputy/detective for the Jefferson Parish Sheriff's Office, a person of full age
of majority and a resident of Jefferson Parish, State of Louisiana:

f. GARY BORDELON, individually and in his official capacity as
officer/deputy/detective for the Jefferson Parish Sheriff's Office, a person of full age
of majority and a resident of Jefferson Parish, State of Louisiana: and

g. ABC Insurance Company, a foreign insurance company authorized to do and doing
business in the Parish of Jefferson, State of Louisiana and at all material times
herewith the liability insurance carrier of Defendants, Joseph Peter Lopinto, III, in his
official capacity as Sheriff of the Jefferson Parish Sheriff's Office, Jefferson Parish
Sheriff's Office, David Lowe, Jason Spadoni, Justin Brister, and Gary Bordelon.

5.

On or about May 10, 2018, Keeven Robinson (hereinafter referred to as “Mr. Robinson”)
was allegedly the target of the Jefferson Parish Sheriff's Office (hereinafter referred to as
“JPSO”) who were conducting an undercover investigation wherein Mr. Robinson was accused
dealing narcotics.

6,

Defendants, David Lowe (hereinafter referred to as “Lowe”™), Jason Spadoni (hereinafter
referred to as “Spadoni”), Justin Brister (hereinafter referred to as “Brister”), and Gary Bordelon
(hereinafter referred to as “Bordelon”), attempted to stop Mr. Robinson after he exited the Shell
gas station located at the corner of Jefferson Highway and Labarre Place and entered into a
vehicle.

7.

As Mr. Robinson exited the parking lot of the Shell gas station and proceeded north

bound on Labarre Place, defendants, Lowe, Spadoni, Brister, and Bordelon, attempted to box Mr.

Robinson’s vehicle in with their unmarked vehicles.

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8.

As a result of the actions by defendants, Lowe, Spadoni, Brister, and Bordelon, who were
attempting to box Mr. Robinson in, their unmarked vehicles purposefully collided with the
vehicle that Mr. Robinson was driving.

9.
Mr. Robinson exited the vehicle he was driving and began to run.
10.

After a brief chase, Mr. Robinson surrendered to defendants, Lowe, Spadoni, Brister, and
Bordelon, while in the back yard of a home.

IE,

After Mr. Robinson's surrender, defendants, Lowe, Spadoni, Brister, and Bordelon,
began to hold Mr. Robinson down on the ground while beating him.

12.

While defendants, Lowe, Spadoni, Brister, and Bordelon, were holding Mr. Robinson

down while beating and choking him, he stopped breathing.
13,

Mr. Robinson was transported to Ochsner Medical Center where he could not be revived
and was pronounced dead.

14,

The initial findings of the autopsy of Mr. Robinson, which was completed by the
Jefferson Parish Corner’s Office, revealed significant traumatic injuries to Mr. Robinson’s neck
including the soft tissue of the neck. Mr. Robinson’s death was ruled a homicide by asphyxiation
according to the Jefferson Parish Corner’s Office.

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15.
Petitioner avers that Mr. Robinson struggled to breath, remained in agony and pain for
several minutes before he died as a result of the negligent, vicious, and unreasonable fatal actions
of defendants, Lowe, Spadoni, Brister, and Bordelon.
EXCESSIVE FORCE BY DEFENDANTS, LOWE, SPADONI, BRISTER AND

BORDELON (Individually and in their official capacity)
Count I - 42 U.S.C, §1983

16.

Plaintiff's incorporates by reference paragraph 1 through 15 as if fully set forth herein.
Plainuff would show that defendants’, Lowe, Spadoni, Brister and Bordelon, actions on the
occasison in question were wrongful, malicious and reckless in depriving Mr. Robinson of his
constitutional rights, as alleged more fully below.

17.

Plaintiff will show that all times material hereto Defendants’, Lowe, Spadoni, Brister and
Bordelon, had a duty to avoid inflection of unjustified bodily injury to Mr. Robinson, to protect
his bodily integrity and to not trample on his constitutional rights.

1g.

Plaintiff will show that Defendants’, Lowe, Spadoni, Brister and Bordelon, failed to act
as reasonable officers would have acted in the same or similar circumstances. That is,
Defendants’, Lowe, Spadoni, Brister and Bordelon, without justification and the need to do so,
used excessive and deadly force as described above and killed Mr. Robinson without legal
justification. Mr. Robinson never made any threatening gestures towards defendants’, Lowe,
Spadoni, Brister and Bordelon, and did not pose an immediate threat to the safety of defendants’,
Lowe, Spadoni, Brister and Bordelon, or others.

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19,

Defendants’, Lowe, Spadoni, Brister and Bordelon, were not provoked when they beat
and choked Mr. Robinson for no lawful or justifiable reason. Mr. Robinson died as a result of
asphyxiation. The excessive and deadly force used by defendants’, Lowe, Spadoni, Brister and
Bordelon, was not reasonable, justified nor was it necessary under the circumstances.

20.

Defendants’, Lowe, Spadoni, Brister and Bordelon, actions were not objectively
reasonable because they followed a procedure designed to inflict excessive and deadly force in
restraining individuals in a non-life-threatening situation.

21.

Plaintiff will show that Defendants’, Lowe, Spadoni, Brister and Bordelon, denied Mr.
Robinson his right to be free from the use of excessive force in violation of the Fourth
Amendment to the U.S. Constitution.

ae:

Defendants’, Lowe, Spadoni, Brister and Bordelon, embarked on a willful, malicious,
reckless and outrageous course of conduct that was intended to cause and in fact caused Mr.
Robinson to suffer extreme and mental and emotional distress, agony and anxiety.

25.

As a result of these Constitutional violations to Mr. Robinson and the injuries he

sustained, Plaintiff seeks compensation as set forth more specifically in the section of this

Complaint entitled “Damages”.

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FAILURE TO TRAIN BY JEFFERSON PARISH SHERIFF’S OFFICE AND SHERIFF
JOSEPH LOPINTO II
Count I] - 42 U.S.C. §1983

24.
Plaintiff incorporates by reference paragraphs 1 through 23 as if fully set forth herein.
25.

Prior to May 10, 2018, the Jefferson Parish Sheriff's Office, knew or should have known

of defendants’, Lowe, Spadoni, Brister and Bordelon, escalating encounters with the public.
26.

Defendants’, Lowe, Spadoni, Brister and Bordelon, (who were employed as full time
officers/deputies/detectives for JPSO, at all pertinent times herein, acting in the course and scope
of their employment) were acting under color of law and acting pursuant to customs, practices
and policies of the Jefferson Parish Sheriff's Office in regards to the use of choke holds, “box”
maneuvers, and deadly force as authorized and/or ratified by the policymakers specifically
Jefferson Parish Sheriffs Office and Sheriff Joseph Lopinto.

2f.

Mr. Robinson was deprived of rights and privileges secured to him by the U.S.
Constitution and by other laws of the United States, by the Jefferson Parish Sheriff's Office and
Sheriff Joseph Lopinto failing to provide proper training, adequate supervision or discipline in
dealing with individuals, Lowe, Spadoni, Brister and Bordelon in violation of 42 U.S.C. §1983
and related provisions of Federal law and in violation of the above cited constitutional

provisions.

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28.

With respect to the claims made the basis of this lawsuit, the Jefferson Parish Sheriff's
Office and Sheriff Joseph Lopinto failed to adequately train its officers on how to deal with
individuals during a stop and the subsequent use of deadly force. The failure to train its officers
in a relevant respect reflects a deliberate indifference to Mr. Robinson and other citizens of the
Parish of Jefferson and the rights of the parishes” inhabitants and is actionable 42 U.S.C. §1983.

29,

Defendant, Jefferson Parish Sheriff's Office and Sheriff Joseph Lopinto, developed and
maintained a policy of deficient training of its officers regarding choke holds, “box” maneuvers,
de-escalation techniques, and use of force, including the proper use of deadly force and dealing
with suspects during a stop. JPSO and Sheriff Lopinto continued to allowed its officers to
operate without proper training regarding choke holds, “box” maneuvers, de-escalation
techniques, and the proper use of force.

30.

On information and belief, Defendant, Jefferson Parish Sheriff's Office and Sheriff
Joseph Lopinto, acting through official policies, practices and customs, and with deliberate,
callous and conscious indifference to the constitutional rights of Mr. Robinson failed to
implement and/or enforce the policies, procedures and practices necessary to provide
constitutionally adequate protection and assistance to Mr. Robinson during his struggle and
survive and implemented policies, procedures and practices which actually interfered with or
prevented with or prevented Mr. Robinson from receiving the protection, assistance and care he

deserved.

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31.

Detendants, Jefferson Parish Sheriff's Office and Sheriff Joseph Lopinto, failure to
properly train and discipline its deputies was the proximate cause of the violations of Mr.
Robinson’s constitutional rights. The actions of the JPSO and Sheriff Lopinto represent a tacitly
approving of law enforcement officers using their power and position to interfere with other
citizen’s rights. As a result of these Constitutional violations to Mr. Robinson and the injuries he
sustained, Plaintiff seeks compensation as set forth more specifically in the section of this
Complaint entitled “Damages”.

FAILURE TO ADEQUATELY SUPERVISE AND/OR DISCPLINE BY JEFFERSON

PARISH SHERIFF'S OFFICE AND SHERIFF JOSEPH LOPINTO
Count HI — 42 U.S.C. §1983

32.
Plaintiff incorporates by reference paragraphs | through 31 as if fully set forth herein.
33.

Plaintiff will show that at all times material hereto defendants, JPSO and Sheriff Lopinto
failed to adequately supervise and/or discipline its officers regarding the use of excessive force
and other violations of conduct, Furthermore, the failures by JPSO and Sheriff Lopinto allowed
for a policy, practice, and custom which resulted in the common use of excessive force.

34.

Plaintiff will show that JPSO and Sheriff Lopinto failed to supervise or discipline its
officers, including but not limited to, Lowe, Spadoni, Brister, and Bordelon, for prior violations
and the resulting lack of supervision, Plaintiff further avers that Defendant, JPSO and Sheriff
Lopinto, that Defendants, Lowe, Spadoni, Brister, and/or Bordelon, had prior internal affairs
investigations and/or civil suits in reference to their conduct. Furthermore, Defendants, JPSO and

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Sheriff Lopinto continue in their capacity as officers/deputies/detectives despite have knowledge
of these investigations and/or civil suits. Defendants, JPSO and Sheriff Lopinto, failed to
adequately supervise and/or discipline its officers during usual and reoccurring situations
including but not limited to “box” maneuvers, choke holds and use of force.
a3.
The failure of Defendants, JPSO and Sheriff Lopinto, to adequately supervise and
discipline its officer proximate caused the deprivation of Mr. Robinson’s constitutional rights.
36.
As a direct and proximate result of the JPSO and Sheriff Lopinto failure to adequately
supervise and discipline its officers, Plaintiff has suffered damages. As a result of these
Constitutional violations to Mr. Robinson and the injuries he sustained, Plaintiff seeks

compensation as set forth more specifically in the section of this Complaint entitled “Damages”.

DELIBERATE INDIFFERENCE BY DEFENDANT JEFFERSON PARISH SHERIFF
OFFICE
Count IV — 42 U.S.C. §1983

37.
Plaintiff incorporates by reference paragraphs | through 36 as if fully set forth herein.
38.
Defendant, JPSO, violated Mr. Robinson’s Fourth Amendment rights by failing to train
its deputies to reasonable respond to individuals who are non-threatening and by engaging in
polices and practices that cause constitutional violations to people who are non-threatening by

inappropriately responding to non-threatening situations with excessive force.

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39,

These constitutional violations were caused by JPSO’s lack of training and supervision in
regards to deputies having the ability and knowledge to appropriately interact with non-
threatening individuals without causing physical injury.

40.

Defendants, Lowe, Spadoni, Brister, and Bordelon, knew or should have known that Mr.
Robinson’s actions were non-life-threatening, and they should have known that any use of force
was objectively unreasonable in light of the totality of the circumstances.

41.

The force used by defendanis, Lowe, Spadoni, Brister, and Bordelon, against Mr.
Robinson during his alleged detention was objectively inhumane and unnecessary and
constituted the unreasonable and excessive use of force, in violation of Mr. Robinson’s clearly
established constitutional rights under the Fourth and Fourteenth Amendments and 42 U.S.C.
§1983.

42,
At no time did Mr. Robinson pose a threat of violence to the Defendants.
43.

As a result of the outrageous conduct of Defendants, Lowe, Spadoni, Brister, and

Bordelon, Mr. Robinson required immediate emergency medical attention.
44.

As a further direct and proximate result of the conduct of defendants, Lowe, Spadoni,
Brister, and Bordelon, Mr. Robinson suffered loss of his life, liberty and freedom, bodily injury
and resulting pain and suffering, mental anguish and medical expenses for treatment and care. As

as

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a result of these Constitutional violations to Mr. Robinson and the injuries he sustained, Plaintiff
seeks compensation as set forth more specifically in the section of this Complaint entitled
“Damages”.

CLAIM AGAINST DEFENDANT, JPSO AND SHERIFF LOPINTO (in his official

capacity as Sheriff) FOR SUPERVISORY LIABILITY PURSUANT TO 42 U.S.C 1983
Count V — 42 U.S.C. §1983

45,
Plaintiff incorporates by reference paragraphs | through 44 as if fully set forth herein.
46.

Defendant, JPSO, violated Mr. Robinson’s Fourth Amendment freedom from being
Subject to excessive force and Fourteenth Amendment substantive due process when JPSO failed
to adequately train its deputies to respond to calls involving non-life-threatening individuals

47,

JPSO’s chief policymaker, Sheriff Joseph Lopinto, is reasonable for the implementation
and promulgation of official policies for JPSO. Further, Sheriff Lopinto, is reasonable for
promulgation of policies and the implementation of training to maintain an effective police force
that is capable and prepared to deal with encounters with non-life-threatening individuals.

4§.

JPSO was deliberately indifferent to its responsibility to adequate prepare its deputies for
encounters with non-life-threatening individuals and for its interaction with detention and arrest
of the same.

49,

JPSO knew or should have known due to the large number of non-life threatening

individuals in Jefferson Parish and the large number of situations in which these individuals are

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suspects, that its deputies would routinely encounter non-life threatening individuals and that
these deputies would need to be aware of the appropriate methods of escalation from detention to
arrest.

50.

JPSO is charged with properly training deputies with the available and necessary non-
deadly-foree skills that would allow officers to investigate a situation involving non-life
threatening individuals and also maintain their own safety,

aL,

JPSO was deliberately indifferent to its responsibility to create an effectively trained
police force that could adequately respond to the scene such as the one that occurred on May 10,
2018.

mas

Thus, there were no sufficiently trained deputies available to reasonable and effectively
deal with Mr. Robinson’s situation on the date in question. All of the acts and omissions of the
insufficiently trained deputies were inappropriate to the situation and caused the encounter to be
escalated.

a3:

Further, the officers were not provided with sufficiently detailed policies and procedures
to use in situations such as the one that occurred on May 10, 2018. Therefore, these officers did
not have the adequate direction or assistance with which to respond to the incident that claimed

the life of Mr. Robinson on May 10, 2018.

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34.

All of the above referenced failures are the responsibility of JPSO and Sheriff Lopinto
who were deliberately indifferent to their responsibility to have adequate policies and procedures
in place and to train and supervise officers/deputies employed by JPSO to deal with recurring
situations of responding to calls involving non-life-threatening individuals.

Sa

As a further direct and proximate result of the conduct described above, Mr. Robinson
suliered loss of his life, liberty and freedom, bodily injury and resulting pain and suffering,
mental anguish and medical expenses for treatment and care. These losses are permanent and in
violation of his Civil Rights. As a result of these Constitutional violations to Mr. Robinson and
the injuries he sustained, Plaintiff seeks compensation as set forth more specifically in the
section of this Complaint entitled “Damages”.

BATTERY BY LOWE, SPADONI, BRISTER, AND BORDELON

Count VI — 42 U.S.C. §1983
36.
Plaintiff incorporates by reference paragraphs | through $5 as if fully set forth herein.
57.

Defendants, Lowe, Spadoni, Brister, and Bordelon, actions against Mr. Robinson, when
they used unreasonable and excessive force to “box” Mr. Robinson’s car in, collide with the
vehicle in which he occupied, push Mr. Robinson down to the ground, strike him in his face and
body, choke him, deprive him of air via his airways, and put him in handcuffs with a deprived

indifference to human life and conscious disregard for the safety of the general public,

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constituted an intentional and unwelcomed privilege touching of Mr. Robinson as was
undertaken in bad faith and with actual malice.
58.

As a further direct and proximate of the conduct described above, Mr. Robinson suffered
loss of his life, liberty and freedom, bodily injury and resulting pain and suffering, mental
anguish and medical expenses for treatment and care. These losses are permanent and in
violation of state law. As a result of these violations to Mr. Robinson and the injuries he
sustained, Plaintiff seeks compensation as set forth more specifically in the section of this
Complaint entitled “Damages”.

SURVIVIAL ACTION
59.
Plaintiff incorporates by reference paragraphs | through 58 as if fully set forth herein.
60.
Plaintiff, Boutte, is the representative for the Estate of Keeven Robinson.
6l.
Mr. Keeven Robinson died as a result of the Defendants’ wrongful conduct.
62.

Mr. Robinson would have been entitled to bring this action against the Defendants if he

had survived.
63.
The Decedents’ right of action for the wrongful conduct against the Defendants survive

in favor of his heirs, legal representative and the Estate of the deceased.

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64.
Defendants are liable to Plaintiff for the loss of Mr. Robinson’s life, pain and suffering
and the violation of his civil rights.
65.
Plaintiff seeks compensation as set forth more specifically in the section of this
Complaint entitled “Damages”.

WRONGFUL DEATH

66.
Plaintiff incorporates by reference paragraphs 1 through 65 as if fully set forth herein.
67.

By reason of Defendants’ wrongful conduct of killing Mr. Robinson without the threat of

imminent death or serious bodily harm, Defendants are liable for damages,
68.

The Defendants’ conduct that caused Mr. Robinson’s death was a producing cause of Mr,
Robinson’s injury, emotional pain and suffering and for their acts and afflictions of emotional
distress caused by the wrongful killing of Mr. Robinson.

69,

Plaintiff seeks compensation as set forth more specifically in the section of this

Complaint entitled “Damages”.

PUNITIVE/EXEMPLARY DAMAGES

70.

Plaintiff incorporates by reference paragraphs 1 through 69 as if fully set forth herein.

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71.

Additionally and in the alternative, the conduct of Defendants was done with malice. As
such, Plaintiff requests punitive and exemplary damages to deter this type of conduct in the
future.

72.

In the alternative, such heedless and reckless disregard of Mr. Robinson’s rights, safety
and welfare is more than momentary thoughtlessness, inadvertence or misjudgment. Such
unconscionable conduct goes beyond ordinary negligence, and as such Plaintiff requests punitive
and exemplary damages are awarded against Defendants in a sum which is within the
jurisdictional limits of this court.

DAMAGES (ALL DEFENDANTS
73.
Plaintiff incorporates by reference paragraphs 1 through 72 as if fully set forth herein.
74,

At all times material herein, the defendant, ABC Insurance Company, whose identity is
not yet known to petitioner, had issued an insurance policy to the defendants, Joseph Peter
Lopinto, III, in his official capacity as Sheriff of the Jefferson Parish Sheriff Office, the Jefferson
Parish Sheriff Office, David Lowe, Jason Spadoni, Justin Brister, and Gary Bordelon, which was
in full force and effect at the time of this incident made subject of this litigation.

75.

Defendants’ acts and/or omissions were a proximate cause of the following injuries
suffered by Plaintiff and/or Decedent and as such Plaintiff requests damages for each and every
injury outlined herein:

af

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a. Mr. Robinson’s pain and suffering prior to his death;

b. Mr. Robinson's mental anguish and anxiety prior to his death;

c. Mr. Robinson’s scarring and disfigurement suffered prior to his death;

d. Mr. Robinson’s funeral expenses and other final expenses;

¢. Petitioncr’s loss of love, affection, society, consortium and services;

f. Petitioner’s mental anguish and anxiety;

g. Petitioner’s loss of support;

h. Petitioner’s medical expenses;

i. Loss of enjoyment of life:

j. Loss of income;

k. Loss of support;

l. Loss of consortium, comfort, financial assistance, protection, affection and
care;

m. Actua] damages;

n. Loss of quality of life;

0. Funeral and burial expenses;

p. Loss of future earnings and contributions to Plaintiff:

q. Exemplary and punitive damages as well as costs of court:

r. Pursuant to 42 U.S.C. §1988, and other applicable laws, Plaintiff should be
awarded costs, reasonable attorney’s fees for the preparation and trial of this
cause of action, and for its appeal, if required:

s. Prejudgment and post judgment interest:

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t. Plaintiff seeks unliquidated damages in an amount that is within the
Jurisdictional limits of the court; and
u. And any and all other damages which may or will be proven at the trial of this
matter.
SOSTS A ORNEY FEES
76.
Plaintiff incorporates by reference paragraphs | through 75 as if fully set forth herein.
77.
Plaintiff is entitled to an award of attorney fees and costs under 42 U.S.C. §1988(b). As
such, Plaintiff requests the Court to award costs and attorney fees incurred in Plaintiff's

prosecution of this litigation.

JOINT AND SEVERAL LIABILITY

78.
Plaintiff incorporates by reference paragraphs | through 77 as if fully set forth herein.

79.
Plaintiff would show that the Defendants were jointly and severally liable for the gross

negligence, which was the proximate cause of Plaintiff’s injuries.
CONDITIONS PRECEDENT

80.

Plaintiff reserves her right to plead and prove the damages to which they are entitled to at

the time of trial. All conditions to Plaintiff's recovery have been performed or have occurred.

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TRIAL BY JURY
81.
Plaintiff has paid a jury fee and demands trial by jury.
PRAYER

WHEREFORE, Plaintiff prays that the Defendants be duly cited to appear and answer
the Petition, that they be served with photocopies of same and that after all due proceedings and
legal delays, there be judgment against the Defendants jointly, severally and in solido in favor of
Plaintiff with interest thereon from the date of judicial demand and for reasonable attorney fees,
for all costs of these proceedings and for all general and equitable relief deemed appropriate by
this Honorable Court under the circumstances.

Respectfully submitted,

= i
HESTER R. HILLIARD, LSB# 313
$19 Veterans Memorial Blvd., Ste. 20
Kenner, Louisiana 70062
Telephone: (504) 336-4608

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CLARENCE ROBY, JR., LSB#20345 (T.A.)
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Telephone: (504) 486-7700

Email: crobvieaol.com

DENNIS MOORE, LSB# 25461
3606 Canal Street

New Orleans, Louisiana 70119
Telephone: (504) 302-7324
Email: dmosti204@yahoo.com

ATTORNEYS FOR PLAINTIFF
(SERVICE INSTRUCTIONS ON NEXT PAGE)

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PLEASE SERVE:

Joseph Peter Lopinto, III, Sheriff
Jefferson Parish Sheriff's Office
1233 Westbank Expressway
Harvey, Louisiana 70057

Jefferson Parish Sheriff's Office
1233 Westbank Expressway
Harvey, Louisiana 70057

David Lowe

Jefferson Parish Sheriff's Office
1233 Westbank Expressway
Harvey, Louisiana 70057

Jason Spadoni

Jefferson Parish Sheriff's Office
1233 Westbank Expressway
Harvey, Louisiana 70057

Gary Bordelon
Jefferson Parish Sheriff's Office

1233 Westbank Expressway
Harvey, Louisiana 70057

ABC Insurance (HOLD SERVICE)

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

WACHELLE BOUTTE, Individually and as Natural Tutrix of
My’Keeven Robinson heir to the Estate of Keeven Robinson

VERSUS

JOSEPH PETER LOPINTO, ILL, in his official capacity, as Sheriff
of the Jefferson Parish Sheriff's Office, JEFFERSON PARISH SHERIFF’S OFFIC E,
DAVID LOWE, individually and in his official capacity as a officer/deputy/detective for the
Jefferson Parish Sheriffs Office, JASON SPADONI, individ ually and in his official capacity as a
officer/deputy/detective for the Jefferson Parish Sheriff's Office, JUSTIN BRISTER, individually
and in his official capacity as a officer/deputy/detective for the Jefferson Parish Sheriff's Office,
GARY BORDELON, individually and in his official capacity as a officer/deputy/detective for the
Jefferson Parish Sheriff's Office,
AND ABC INSURANCE COMPANY

FILED:

DEPUTY CLERK

STATE OF LOUISIANA
PARISH OF ORLEANS
VERIFICATION

Before Me, the undersigned Notary Public, duly licensed and commissioned in and for

the State and Parish aforesaid, personally came and appeared:
WACHELLE BOUTTE

who, first being duly sworn, deposed and said that he/she has read the allegations in the
foregoing Petition and the allegations are true and correct to the best of his/her knowledge,

information and belief, af
WACHELLE BOUTTE
# ‘
Sworn to and subscribed before me on this | 6 day of Kes. Q |

2019.

T i i
ESTER R. HILLIARD
Attorney at Law/ Notary Public
Notary/ Bar Roll #31392

